                      UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF PENNSYLVANIA
 Re: John W Shea
                                                           Case No.: 1-17-04326 HWV

                                                           Chapter 13
                     Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition and post-petition default in the claim below has been paid in full and the
debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  PNC
 Court Claim Number:             08
 Last Four of Loan Number:       6575
 Property Address if applicable: 3013 Ionoff Rd

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.     Allowed prepetition arrearages:                                      $48,654.22
 b.     Prepetition arrearages paid by the trustee:                          $48,654.22
 c.     Amount of postpetition fees, expenses, and charges                   $0.00
        recoverable under Bankruptcy Rule 3002.1(c):
 d.     Amount of postpetition fees, expenses, and charges                   $0.00
        recoverable under Bankruptcy Rule 3002.1(c) and paid
        by the trustee:
 e.     Allowed postpetition arrearage:                                      $0.00
 f.     Postpetition arrearage paid by the trustee:                          $0.00
 g.     Total b, d, and f:                                                   $48,654.22

 PART 3: POSTPETITION MORTGAGE PAYMENT
  Mortgage was paid through the Trustee
  from November 2017 through October
  2024
  Current monthly mortgage payment:      $1,947.45
  The next post-petition payment was due
  on:                                    November 2024

PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the




Case 1:17-bk-04326-HWV           Doc 64    Filed 03/25/25     Entered 03/25/25 07:07:28        Desc
                                           Page 1 of 10
default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.

To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: March 25, 2025                                  Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




Case 1:17-bk-04326-HWV           Doc 64     Filed 03/25/25      Entered 03/25/25 07:07:28        Desc
                                            Page 2 of 10
                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Re: John W Shea
                                                            Case No.: 1-17-04326 HWV

                                                            Chapter 13
                     Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on March 25, 2025, I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown, PA,
unless served electronically.

  Served Electronically
  Chad Julius, Esquire
  Law Offices of Leslie D Jacobson
  8150 Derry St
  Harrisburg PA 17111


  Served by First Class Mail
  PNC NA
  Att: Bankruptcy
  3232 Newmark Dr
  Miamisburg OH 45342

  John W Shea
  3013 Ionoff Rd
  Harrisburg PA 17110




  I certify under penalty of perjury that the foregoing is true and correct.


  Date: March 25, 2025                                  /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




Case 1:17-bk-04326-HWV           Doc 64    Filed 03/25/25      Entered 03/25/25 07:07:28      Desc
                                           Page 3 of 10
                                          Disbursements for Claim
Case: 17-04326           JOHN W. SHEA
         PNC BANK
                                                                             Sequence: 07
         BANKRUPTCY DEPT
                                                                                Modify:
         3232 NEWMARK DR
                                                                            Filed Date:
         MIAMISBURG, OH 45342-
                                                                            Hold Code:
 Acct No: 6575/RMMP



                                            Debt:       $146,027.32       Interest Paid:                 $0.00
        Amt Sched:                $0.00                                     Accrued Int:                  $0.00
         Amt Due:     $1,947.45              Paid:      $146,027.32        Balance Due:                   $0.00

Claim name                         Type      Date         Check #     Principal     Interest       Total Reconciled
                                                                                         DisbDescrp
 5010        PNC BANK
501-0 PNC BANK                             10/23/2024     2041253     $1,947.45       $0.00      $1,947.45 11/08/2024
                                                                                           Payment for 10/2024
501-0 PNC BANK                             09/17/2024     2040257     $1,856.86       $0.00      $1,856.86 09/27/2024
                                                                                           Payment for 8/2024
501-0 PNC BANK                             09/17/2024     2040257     $1,856.86       $0.00      $1,856.86 09/27/2024
                                                                                           Payment for 9/2024
501-0 PNC BANK                             08/07/2024     2039238     $1,856.86       $0.00      $1,856.86 08/21/2024
                                                                                           Payment for 7/2024
501-0 PNC BANK                             07/10/2024     2038358     $1,856.86       $0.00      $1,856.86 07/23/2024
                                                                                           Payment for 6/2024
501-0 PNC BANK                             05/22/2024     2036634     $1,856.86       $0.00      $1,856.86 06/04/2024
                                                                                           Payment for 5/2024
501-0 PNC BANK                             04/17/2024     2035629     $1,856.86       $0.00      $1,856.86 04/30/2024
                                                                                           Payment for 4/2024
501-0 PNC BANK                             03/14/2024     2034667     $1,856.86       $0.00      $1,856.86 03/25/2024
                                                                                           Payment for 2/2024
501-0 PNC BANK                             03/14/2024     2034667     $1,856.86       $0.00      $1,856.86 03/25/2024
                                                                                           Payment for 3/2024
501-0 PNC BANK                             01/12/2024     2032777     $1,856.86       $0.00      $1,856.86 01/31/2024
                                                                                           Payment for 12/2023
501-0 PNC BANK                             01/12/2024     2032777     $1,856.86       $0.00      $1,856.86 01/31/2024
                                                                                           Payment for 1/2024
501-0 PNC BANK                             12/19/2023     2031885     $1,856.86       $0.00      $1,856.86 01/17/2024
                                                                                           Payment for 11/2023
501-0 PNC BANK                             10/18/2023     2029980     $1,797.66       $0.00      $1,797.66 11/03/2023
                                                                                           Payment for 9/2023
501-0 PNC BANK                             10/18/2023     2029980     $1,856.86       $0.00      $1,856.86 11/03/2023
                                                                                           Payment for 10/2023


          Case 1:17-bk-04326-HWV        Doc 64   Filed 03/25/25     Entered 03/25/25 07:07:28         Desc         1
                                                 Page 4 of 10
Claim name                       Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                   DisbDescrp
501-0 PNC BANK                          08/09/2023     2027981 $1,797.66        $0.00    $1,797.66 08/21/2023
                                                                                  Payment for 7/2023
501-0 PNC BANK                          08/09/2023     2027981 $1,797.66       $0.00    $1,797.66 08/21/2023
                                                                                  Payment for 8/2023
501-0 PNC BANK                          07/11/2023    2026993     $1,797.66    $0.00    $1,797.66 07/24/2023
                                                                                  Payment for 6/2023
501-0 PNC BANK                          06/13/2023    2026075     $1,797.66    $0.00    $1,797.66 06/29/2023
                                                                                  Payment for 5/2023
501-0 PNC BANK                          04/18/2023    2024129     $1,797.66    $0.00    $1,797.66 04/28/2023
                                                                                  Payment for 4/2023
501-0 PNC BANK                          03/15/2023    2023100     $1,797.66    $0.00    $1,797.66 03/27/2023
                                                                                  Payment for 3/2023
501-0 PNC BANK                          02/15/2023    2022099     $1,797.66    $0.00    $1,797.66 02/28/2023
                                                                                  Payment for 1/2023
501-0 PNC BANK                          02/15/2023    2022099     $1,797.66    $0.00    $1,797.66 02/28/2023
                                                                                  Payment for 2/2023
501-0 PNC BANK                          01/18/2023    2021095     $1,797.66    $0.00    $1,797.66 02/02/2023
                                                                                  Payment for 12/2022
501-0 PNC BANK                          12/13/2022    2020100     $1,797.66    $0.00    $1,797.66 12/20/2022
                                                                                  Payment for 11/2022
501-0 PNC BANK                          10/18/2022    2018113     $1,940.39    $0.00    $1,940.39 10/26/2022
                                                                                  Payment for 9/2022
501-0 PNC BANK                          10/18/2022    2018113     $1,797.66    $0.00    $1,797.66 10/26/2022
                                                                                  Payment for 10/2022
501-0 PNC BANK                          08/17/2022    2016039     $1,940.39    $0.00    $1,940.39 08/24/2022
                                                                                  Payment for 7/2022
501-0 PNC BANK                          08/17/2022    2016039     $1,940.39    $0.00    $1,940.39 08/24/2022
                                                                                  Payment for 8/2022
501-0 PNC BANK                          07/13/2022    2014966     $1,940.39    $0.00    $1,940.39 07/20/2022
                                                                                  Payment for 6/2022
501-0 PNC BANK                          05/17/2022    2012967     $1,940.39    $0.00    $1,940.39 05/24/2022
                                                                                  Payment for 4/2022
501-0 PNC BANK                          05/17/2022    2012967     $1,940.39    $0.00    $1,940.39 05/24/2022
                                                                                  Payment for 5/2022
501-0 PNC BANK                          03/16/2022    2010868     $1,940.39    $0.00    $1,940.39 03/23/2022
                                                                                  Payment for 2/2022
501-0 PNC BANK                          03/16/2022    2010868     $1,940.39    $0.00    $1,940.39 03/23/2022
                                                                                  Payment for 3/2022
501-0 PNC BANK                          02/16/2022    2009875     $1,940.39    $0.00    $1,940.39 02/23/2022
                                                                                  Payment for 1/2022

        Case 1:17-bk-04326-HWV     Doc 64    Filed 03/25/25     Entered 03/25/25 07:07:28    Desc          2
                                             Page 5 of 10
Claim name                       Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                   DisbDescrp
501-0 PNC BANK                          01/19/2022    2008904     $1,940.39     $0.00    $1,940.39 01/26/2022
                                                                                  Payment for 12/2021
501-0 PNC BANK                          11/16/2021    2006870     $1,940.39    $0.00    $1,940.39 11/23/2021
                                                                                  Payment for 11/2021
501-0 PNC BANK                          11/16/2021    2006870     $1,940.39    $0.00    $1,940.39 11/23/2021
                                                                                  Payment for 10/2021
501-0 PNC BANK                          09/14/2021     2004791 $1,655.72       $0.00    $1,655.72 09/20/2021
                                                                                  Payment for 8/2021
501-0 PNC BANK                          09/14/2021     2004791 $1,655.72       $0.00    $1,655.72 09/20/2021
                                                                                  Payment for 9/2021
501-0 PNC BANK                          07/14/2021    2002719     $1,655.72    $0.00    $1,655.72 07/20/2021
                                                                                  Payment for 6/2021
501-0 PNC BANK                          07/14/2021    2002719     $1,655.72    $0.00    $1,655.72 07/20/2021
                                                                                  Payment for 7/2021
501-0 PNC BANK                          06/16/2021    2001742     $1,655.72    $0.00    $1,655.72 06/22/2021
                                                                                  Payment for 5/2021
501-0 PNC BANK                          05/18/2021    2000743     $1,655.72    $0.00    $1,655.72 05/26/2021
                                                                                  Payment for 4/2021
501-0 PNC BANK                          04/15/2021    1229359     $1,655.72    $0.00    $1,655.72 04/21/2021
                                                                                  Payment for 3/2021
501-0 PNC BANK                          03/17/2021    1228349     $1,655.72    $0.00    $1,655.72 03/25/2021
                                                                                  Payment for 1/2021
501-0 PNC BANK                          03/17/2021    1228349     $1,655.72    $0.00    $1,655.72 03/25/2021
                                                                                  Payment for 2/2021
501-0 PNC BANK                          02/17/2021     1227331 $1,655.72       $0.00    $1,655.72 02/24/2021
                                                                                  Payment for 12/2020
501-0 PNC BANK                          01/19/2021    1226316     $1,666.83    $0.00    $1,666.83 01/27/2021
                                                                                  Payment for 9/2020
501-0 PNC BANK                          01/19/2021    1226316     $1,655.72    $0.00    $1,655.72 01/27/2021
                                                                                  Payment for 10/2020
501-0 PNC BANK                          01/19/2021    1226316     $1,655.72    $0.00    $1,655.72 01/27/2021
                                                                                  Payment for 11/2020
501-0 PNC BANK                          09/17/2020    1221763     $1,666.83    $0.00    $1,666.83 09/23/2020
                                                                                  Payment for 8/2020
501-0 PNC BANK                          07/07/2020    1219660     $1,666.83    $0.00    $1,666.83 07/13/2020
                                                                                  Payment for 6/2020
501-0 PNC BANK                          07/07/2020    1219660     $1,666.83    $0.00    $1,666.83 07/13/2020
                                                                                  Payment for 7/2020
501-0 PNC BANK                          06/02/2020    1218635     $1,666.83    $0.00    $1,666.83 06/09/2020
                                                                                  Payment for 5/2020

        Case 1:17-bk-04326-HWV     Doc 64    Filed 03/25/25     Entered 03/25/25 07:07:28    Desc          3
                                             Page 6 of 10
Claim name                       Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                   DisbDescrp
501-0 PNC BANK                          04/14/2020    1216645     $1,666.83     $0.00    $1,666.83 04/21/2020
                                                                                  Payment for 3/2020
501-0 PNC BANK                          04/14/2020    1216645     $1,666.83    $0.00    $1,666.83 04/21/2020
                                                                                  Payment for 4/2020
501-0 PNC BANK                          03/12/2020    1215365     $1,666.83    $0.00    $1,666.83 03/18/2020
                                                                                  Payment for 2/2020
501-0 PNC BANK                          02/13/2020    1214054     $1,666.83    $0.00    $1,666.83 02/20/2020
                                                                                  Payment for 1/2020
501-0 PNC BANK                          12/12/2019    1211339     $1,666.83    $0.00    $1,666.83 12/18/2019
                                                                                  Payment for 12/2019
501-0 PNC BANK                          11/07/2019     1209971 $1,666.83       $0.00    $1,666.83 11/14/2019
                                                                                  Payment for 10/2019
501-0 PNC BANK                          11/07/2019     1209971 $1,666.83       $0.00    $1,666.83 11/14/2019
                                                                                  Payment for 11/2019
501-0 PNC BANK                          09/26/2019    1207708     $1,618.78    $0.00    $1,618.78 10/03/2019
                                                                                  Payment for 7/2019
501-0 PNC BANK                          09/26/2019    1207708     $1,618.78    $0.00    $1,618.78 10/03/2019
                                                                                  Payment for 8/2019
501-0 PNC BANK                          09/26/2019    1207708     $1,618.78    $0.00    $1,618.78 10/03/2019
                                                                                  Payment for 9/2019
501-0 PNC BANK                          07/11/2019    1204870     $1,618.78    $0.00    $1,618.78 07/18/2019
                                                                                  Payment for 6/2019
501-0 PNC BANK                          07/11/2019    1204870     $1,618.78    $0.00    $1,618.78 07/18/2019
                                                                                  Payment for 5/2019
501-0 PNC BANK                          04/11/2019    1200835     $1,618.78    $0.00    $1,618.78 04/17/2019
                                                                                  Payment for 4/2019
501-0 PNC BANK                          03/12/2019    1199459     $1,618.78    $0.00    $1,618.78 03/19/2019
                                                                                  Payment for 3/2019
501-0 PNC BANK                          02/07/2019     1198181 $1,618.78       $0.00    $1,618.78 02/13/2019
                                                                                  Payment for 1/2019
501-0 PNC BANK                          02/07/2019     1198181 $1,618.78       $0.00    $1,618.78 02/13/2019
                                                                                  Payment for 2/2019
501-0 PNC BANK                          01/10/2019    1197069     $1,618.78    $0.00    $1,618.78 01/17/2019
                                                                                  Payment for 12/2018
501-0 PNC BANK                          12/13/2018    1195699     $1,618.78    $0.00    $1,618.78 12/21/2018
                                                                                  Payment for 11/2018
501-0 PNC BANK                          11/08/2018    1194294     $1,604.09    $0.00    $1,604.09 11/16/2018
                                                                                  Payment for 9/2018
501-0 PNC BANK                          11/08/2018    1194294     $1,618.78    $0.00    $1,618.78 11/16/2018
                                                                                  Payment for 10/2018

        Case 1:17-bk-04326-HWV     Doc 64    Filed 03/25/25     Entered 03/25/25 07:07:28    Desc          4
                                             Page 7 of 10
Claim name                       Type     Date          Check #     Principal   Interest       Total Reconciled
                                                                                     DisbDescrp
501-0 PNC BANK                          10/10/2018       1192949    $1,604.09     $0.00    $1,604.09 10/18/2018
                                                                                    Payment for 8/2018
501-0 PNC BANK                          09/06/2018       1191599    $1,604.09    $0.00    $1,604.09 09/13/2018
                                                                                    Payment for 7/2018
501-0 PNC BANK                          08/09/2018       1190289    $1,604.09    $0.00    $1,604.09 08/15/2018
                                                                                    Payment for 6/2018
501-0 PNC BANK                          07/12/2018       1188926    $1,604.09    $0.00    $1,604.09 07/18/2018
                                                                                    Payment for 5/2018
501-0 PNC BANK                          06/07/2018       1187519    $1,604.09    $0.00    $1,604.09 06/14/2018
                                                                                    Payment for 4/2018
501-0 PNC BANK                          05/15/2018       1186244    $1,604.09    $0.00    $1,604.09 05/22/2018
                                                                                    Payment for 3/2018
501-0 PNC BANK                          03/08/2018       1181748    $1,604.09    $0.00    $1,604.09 03/14/2018


501-0 PNC BANK                          02/08/2018       1180386    $1,604.09    $0.00    $1,604.09 02/14/2018


501-0 PNC BANK                          01/11/2018       1179009    $1,604.09    $0.00    $1,604.09 01/18/2018


501-0 PNC BANK                          01/11/2018       1179009    $1,604.09    $0.00    $1,604.09 01/18/2018


                                                      Sub-totals:$146,027.32     $0.00$146,027.32

                                                               $146,027.32
                                                     Grand Total:                $0.00




        Case 1:17-bk-04326-HWV     Doc 64    Filed 03/25/25       Entered 03/25/25 07:07:28    Desc          5
                                             Page 8 of 10
                                              Disbursements for Claim
Case: 17-04326          JOHN W. SHEA
         PNC BANK
                                                                                 Sequence: 24
         ATTN: BANKRUPTCY DEPT
                                                                                    Modify:
         3232 NEWMARK DRIVE
                                                                                Filed Date: 1/9/2018 12:00:00AM
         MIAMISBURG, OH 45342-
                                                                                Hold Code:
 Acct No: 6575/PRE ARREARS/3013 IONOFF RD



                                                Debt:        $48,654.22       Interest Paid:              $0.00
        Amt Sched:              $224,976.00                                     Accrued Int:               $0.00
         Amt Due:       $0.00                    Paid:       $48,654.22        Balance Due:                $0.00

Claim name                             Type      Date         Check #     Principal     Interest       Total Reconciled
                                                                                             DisbDescrp
 5200        PNC BANK
520-0 PNC BANK                                 03/18/2025     2046000      $806.84        $0.00     $806.84


520-0 PNC BANK                                 11/19/2024     2042220     $9,826.50       $0.00   $9,826.50 12/04/2024


520-0 PNC BANK                                 10/23/2024     2041254      $473.07        $0.00     $473.07 11/01/2024


520-0 PNC BANK                                 09/17/2024     2040258     $2,017.28       $0.00   $2,017.28 09/27/2024


520-0 PNC BANK                                 05/22/2024     2036635     $3,358.62       $0.00   $3,358.62 06/04/2024


520-0 PNC BANK                                 04/17/2024     2035630      $563.66        $0.00     $563.66 04/30/2024


520-0 PNC BANK                                 03/14/2024     2034668     $1,583.64       $0.00   $1,583.64 03/25/2024


520-0 PNC BANK                                 01/12/2024     2032778     $1,340.46       $0.00   $1,340.46 01/31/2024


520-0 PNC BANK                                 10/18/2023      2029981 $2,726.08          $0.00   $2,726.08 11/03/2023


520-0 PNC BANK                                 08/09/2023     2027982     $2,204.51       $0.00   $2,204.51 08/21/2023


520-0 PNC BANK                                 04/18/2023     2024130      $649.17        $0.00     $649.17 04/28/2023


520-0 PNC BANK                                 03/15/2023      2023101 $1,926.06          $0.00   $1,926.06 03/27/2023


520-0 PNC BANK                                 02/15/2023     2022100     $1,659.24       $0.00   $1,659.24 02/28/2023


520-0 PNC BANK                                 10/18/2022     2018115      $518.92        $0.00     $518.92 10/25/2022



          Case 1:17-bk-04326-HWV          Doc 64     Filed 03/25/25     Entered 03/25/25 07:07:28      Desc           1
                                                     Page 9 of 10
Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
520-0 PNC BANK                          08/17/2022       2016041 $2,290.56         $0.00    $2,290.56 08/24/2022


520-0 PNC BANK                          05/17/2022       2012969      $122.72     $0.00      $122.72 05/24/2022


520-0 PNC BANK                          03/16/2022       2010870     $1,611.29    $0.00    $1,611.29 03/23/2022


520-0 PNC BANK                          11/16/2021       2006872     $2,312.95    $0.00    $2,312.95 11/23/2021


520-0 PNC BANK                          09/14/2021       2004793      $810.46     $0.00      $810.46 09/20/2021


520-0 PNC BANK                          07/14/2021       2002721      $448.80     $0.00     $448.80 07/21/2021


520-0 PNC BANK                          07/07/2020       1219662       $257.41    $0.00      $257.41 07/15/2020


520-0 PNC BANK                          04/14/2020       1216648      $835.75     $0.00      $835.75 04/21/2020


520-0 PNC BANK                          12/12/2019       1211342     $1,635.07    $0.00    $1,635.07 12/18/2019


520-0 PNC BANK                          11/07/2019       1209975     $4,743.91    $0.00    $4,743.91 11/14/2019


520-0 PNC BANK                          09/26/2019       1207712      $616.18     $0.00      $616.18 10/03/2019


520-0 PNC BANK                          04/11/2019       1200838     $1,091.93    $0.00    $1,091.93 04/17/2019


520-0 PNC BANK                          03/12/2019       1199461 $2,071.00        $0.00    $2,071.00 03/19/2019


520-0 PNC BANK                          02/07/2019       1198183      $152.14     $0.00     $152.14 02/15/2019


                                                      Sub-totals: $48,654.22      $0.00 $48,654.22

                                                     Grand Total: $48,654.22      $0.00




        Case 1:17-bk-04326-HWV     Doc 64   Filed 03/25/25         Entered 03/25/25 07:07:28    Desc          2
                                            Page 10 of 10
